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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

JOSEPH RIOTTO,

Plaintiff,
Civ. Action No. 2:19-cv-13921-

Vv. : CCC-MF

SN SERVICING CORPORATION;
HLADIK, ONORATO &
FEDERMAN, LLP,

Defendant.

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT HLADIK,
ONORATO & FEDERMAN, LLP’S MOTION TO DISMISS THE
COMPLAINT PURSUANT TO RULE 12(b)(6) OF THE FEDERAL RULES
OF CIVIL PROCEDURE

 

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Defendant Hladik, Onorato & Federman, LLP (“HOF”), by its undersigned
counsel, respectfully submits this Memorandum of Law in Support of its Motion to
Dismiss the Complaint of Plaintiff Joseph Riotto (“Riotto”) against it with
prejudice.

I. PRELIMINARY STATEMENT

This case arises in the context of the “cottage industry” that has arisen
nationwide among sophisticated class action counsel looking not for a remedy for
unsophisticated consumers whose rights have been violated by unscrupulous debt
collectors but rather, looking for a windfall for themselves based on the smallest of
alleged infractions as to which the hypothetical unsophisticated consumer would
never notice or complain.’ In this case, counsel located in Longmeadow,
Massachusetts, with a sizeable internet and social media presence, has purported to
bring a class action claim against HOF under Section 1692g(b) of the Fair Debt
Collection Practices Act, 15 U.S.C. §§ 1692a et seg., for inclusion of what it
acknowledges is a proper FDCPA Validation Notice contained within an equally
proper New Jersey Notice of Intention to Foreclosure pursuant to N.J.S.A. 2A:50-

56. A copy of the Notice of Intention to Foreclose is attached to the Complaint as

 

| See, e.g., Max v. Gordon & Weinberg, P.C., 2016 WL 475290 (D.N.J. 2016) (at *5, fn6), (citing, Federal Home
Loan Mtg, Co. v. Lamer, 503 F.3d 504, 513 (6" Cir. 2007)) (Declaration of Brian J. Molloy, Esq. (“Molloy Dec!.”),
Exh. A); Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S, 573, 617 (2010) (Kennedy, J.,
dissenting, joined by Alito, J.) (‘Today’s holdings gives real impetus to this already troubling dynamic of allowing
certain actors in the system to spin even good-faith, technical violations of federal law into lucrative litigation, if not
for themselves then for the attorneys who conceive of the suit.”).

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Exhibit “A.” Specifically, Riotto, who nowhere disputes the fact that he has failed
to pay his mortgage since April of 2013, received a Notice of Intention to
Foreclose stating, as statutorily required, that “if you do not cure the default by
July 7, 2019, we may initiate foreclosure proceedings against you and take steps to
terminate your ownership in the property by commencing a foreclosure suit in a
court of competent jurisdiction.” The Notice, as an “initial communication,” to the
extent that the FDCPA is applicable,” required an FDCPA Validation Notice
pursuant to 15 U.S.C. § 1692g(a). Thus, HOF included the following validation
language in the Notice:
Reliant Loan Servicing LLC

AS OF JUNE 7, 2019, THE AMOUNT OF THE DEBT
IS $181,554.22. THE NAME OF THE CREDITOR TO
WHOM THE DEBT IS OWED IS RELIANT LOAN
SERVICING LLC. UNLESS YOU NOTIFY US IN
WRITING WITHIN THIRTY (G0) DAYS AFTER
RECEIPT OF THIS LETTER THAT THE DEBT, OR
ANY PART OF IT, IS DISPUTED, WE WILL
ASSUME THAT THE DEBT IS VALID. IF YOU DO
NOTIFY US OF A DISPUTE, WE WILL OBTAIN
VERIFICATION OF THE DEBT AND MAIL IT TO
YOU. ALSO UPON YOUR WRITTEN REQUEST
WITHIN THIRTY (30) DAYS, WE WILL PROVIDE
YOU WITH THE NAME AND ADDRESS OF THE

 

* As noted in Section III of the Argument, at pp. 6-9, infra, the recent Opinion of the Supreme Court in Obdusky v.
McCarthy & Holthus, LLP, 139 S.Ct. 1029 (U.S. 2019) inextricably holds that the enforcement of a security interest
through foreclosure, of which HOF’s notice of intent to foreclose was an integral step, is not subject to the FDCPA.
While the Obdusky Opinion occurred in the contents of a non-judicial foreclosure, the cases cited by the Supreme
Court as creating the Circuit split and which were abrogated by the Obdusky Opinion all arose in the judicial
foreclosure context. Accordingly, HOF submits that in light of Obdusky, no claims under the FDCPA., arise against
a law firm conducting only foreclosure proceedings as was the case here.

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ORIGINAL CREDITOR IF DIFFERENT FROM THE
CURRENT CREDITOR. THIS COMMUNICATION IS
AN ATTEMPT TO COLLECT A DEBT AND ANY
INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE.

Riotto does not contend that there was anything incorrect or improper about
the Validation Notice language contained in the Notice of Intention to Foreclose.
There is no contention that the form of the notice was improper or in any way
overshadowed the information contained therein due to its placement or small
print, for example. Rather, the Complaint alleges that the provision of correct
information in the letter which states that if the default is not cured by July 7" (30
days after the date of the letter) “we may initiate foreclosure proceedings against
you” constitutes an FDCPA violation because correct information under the
FDCPA also was provided in the Validation Notice, i.e., that Riotto had thirty (30)
days after receipt of the Notice to dispute the debt or it would be assumed to be
valid.’ In other words, Riotto asserts that the correct information concerning when
a foreclosure proceeding may be initiated contained in the Notice of Intention to
Foreclose overshadows the Validation Notice because the FDCPA permits a
response within thirty (30) days after receipt of the Notice, while the New Jersey

rule allows the filing of a foreclosure suit thirty days after the Notice is sent. On

 

> The Complaint incorrectly characterizes this language being “foreclosure proceedings will commence.”
Complaint, § 57. The Notices stated that “we may initiate foreclosure proceedings against you” after that date, a
statement which was objectively correct.

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this sole basis, plaintiff seeks to represent a class on behalf of all New Jersey
foreclosure defendants who may have received a notice similar to Riotto.

As discussed below, the claim is defective on its face, inasmuch as plaintiff
has failed to allege the elements of a Section 1692g(b) claim, which requires that
(1) the consumer dispute the debt in writing to the alleged debt collector, (2) that
the debt collector’s response did not satisfy the verification requirements and (3)
the debt collector then engaged in post-dispute conduct in violation of the FDCPA.
None of these elements is satisfied, and thus, the claim is defective on its face.
Rather, Plaintiff appears to confuse the “overshadowing” issue identified in the
“Dispute” Subsection of Section 1692g with a claim for a defective notice
violating the requirements of Section 1692g(a), which is not alleged, or a claim for
violation of Section 1692e(2) or (10) for sending misleading or deceptive debt
collection communications. To the extent that the claim is interpreted in that
manner, it is foreclosed by Oppong’ and other cases holding that correct
information containing information concerning state and FDCPA time limits which
may conflict is not confusing to the least sophisticated consumer and does not state
a claim under the FDCPA. Frankly, what does Riotto (or more accurately, his

counsel) expect HOF to do—misstate the time deadlines as provided under state

 

* See Oppong v. First Union Mortgage Corp., 566 F.Supp. 2d 395 (E.D. PA 2008), aff'd 326 Fed. Appx. 663 (3d
Cir. 2009).

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and federal law? If HOF did that, of course, they would be sure to receive FDCPA
claims based on the allegations that the correct deadlines were misstated. Here,
there can be no confusion of a consumer who receives a notice stating that a
foreclosure action may be brought after the expiration of thirty days from the date
of the Notice and that he or she has (30) thirty days after receipt of the notice to
dispute the debt. These are separate deadlines, but not ones that would confuse a
person of reasonable intelligence who reads the notice in its entirety. Unlike the
cases finding an overshadowing, this case does not involve subjective artificial
deadlines imposed by a debt collector to create fear and induce rapid payment, but
rather, merely provides accurate and correct information. This simply is not a
violation of the FDCPA as a matter of law, even if the FDCPA still applies to
judicial foreclosure practitioners after Obdusky.

Il. STANDARDS FOR THIS MOTION

On a motion to dismiss a complaint for failure to state a claim for relief
pursuant to Fed. R. C. P. 12(b)(6), all well-pleaded facts in the Complaint are
deemed to be true. McNamara y. County Council of Sussex County, 738 F. Supp.
134, 137 (D. Del.), aff'd, 922 F.2d 832 (3d Cir. 1990); Bethlehem Plaza v.
Campbell, 403 F. Supp. 966, 967 (E.D. Pa. 1975). However, unsupported
conclusions without a factual basis and sweeping conclusions of law cannot be

utilized by a plaintiff to defeat a motion to dismiss. Schatz v. Rosenberg, 943 F.2d

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485, 489 (4th Cir. 1991), cert. denied, 112 S.Ct. 1475 (1992); Randolph County
Federal Savings & Loan Assn. v. Sutliffe, 775 F. Supp. 1113, 1115-16 (S.D. Ohio
1991). In order to avoid dismissal, a complaint must contain either direct or
inferential allegations respecting all the material elements to sustain a recovery
under some viable legal theory. Car Carriers, Inc. v. Ford Motor Co., 745 F.2d
1101, 1106 (7th Cir. 1984), cert. denied, 470 U.S. 1054 (1985); In re Plywood
Antitrust Litigation, 655 F.2d 627, 641 (5th Cir. 1981) cert. dismissed, 462 U.S.
1125 (1983). As stated by the Sixth Circuit:

[W]e are not holding the pleader to an impossibly high

standard; we recognize the policies behind Rule 8 and the

concept of notice pleading. A plaintiff will not be thrown

out of court for failing to plead facts in support of every

arcane element of his claim. But when a complaint omits

facts that, if they existed, would clearly dominate the
case, it seems fair to assume that those facts do not exist.

Scheid vy. Fanny Farmer Candy Shops, Inc., 859 F.2d 434, 437 (6th Cir. 1988). As
noted in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), the pleader_ must
allege sufficient facts as to each claim such that it is “plausible on its face.” J/d.,
550 U.S. at 530. A pleader cannot, without any factual basis (as plaintiffs attempt
to do with their late fee allegation herein) “aver” a conclusion. Twombly requires

that a pleader allege facts which raise the right to relief above the speculative

level.” Jd. at 555.

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In the consideration of a motion to dismiss pursuant to Rule 12(b)(6), the
court must limit itself to facts stated in the Complaint, in documents attached to the
Complaint, and matters of which judicial notice may be taken under Fed. R. Evid.
201. Kramer v. Time Warner, Inc., 937 F.2d 767, 773 (2d Cir. 1991); Mack v.
South Bay Beer Distributors, Inc., 798 F.2d 1279, 1282 (9th Cir. 1986);
Commonwealth of Pennsylvania v. Brown, 373 F.2d 771, 778 (3d Cir. 1967).
Judicial notice may be taken of matters of public record without converting a
motion to dismiss to a summary judgment motion. 5A Wright & Miller, Federal
Practice and Procedure. §1364 at p. 479 (1990); Kramer v. Time Warner, Inc.,
supra. 937 F. 2d at 773 (3d Cir. 1991); DiNicola v. DiPaolo, 945 F. Supp. 848, 855
n.2 (W.D. Pa. 1996). Where facts alleged to be true in the Complaint are
contradicted by facts that can be judicially noticed, those facts (in the Complaint)
will not be deemed to be true for the purposes of a Rule 12(b)(6) motion. 5A
Wright & Miller, Federal Practice and Procedure, §1363 at p. 464 and n. 38
(1990) (and cases cited therein).

As discussed below, the Supreme Court’s Obdusky Opinion requires the
dismissal of the Complaint as against HOF, which in the act of transmitting a
notice required under New Jersey law to commence a foreclosure, is not a “debt
collector” under the FDCPA. To the extent that it is considered a debt collector,

however, no claim is stated under 15 U.S.C. 1692g(b) because no dispute of the

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Validation Notice was sent to HOF nor were there any illegal post-dispute actions
alleged. If the claim is interpreted as a claim under Sections 1692g(a) or 1692e(2)
and (10), it also is defective because the Notice provided by HOF is not inaccurate
nor misleading. Rather, it timely notified Riotto of correct time limits for state and
federal law requirements. There is nothing in the Notice constituting an FDCPA
violation as a matter of law.

I. UNDER THE SUPREME COURT’S OBDUSKEY OPINION, HOF IS

NOT A DEBT COLLECTOR AGAINST WHOM AN FDCPA CLAIM
MAY BE ASSERTED UNDER THE FACTS OF THIS CASE

Riotto specifically bases his FDCPA claim against HOF on activity
integrally related to the commencement of a foreclosure action, i.e., the service of a
Notice of Intention to Foreclose, which is a required precondition to a foreclosure
action under New Jersey law. See, e.g., Bank of New York v. Laks, 422 N.J. Super.
201, 27 A.3d 1222, 1229 (App. Div. 2010),° overruled in part on other grnds in
U.S. Bank v. Guillaume, 209 N.J. 449, 38 A.3d 570 (2012).

However, on March 20, 2019, the Supreme Court released its Opinion in
Obduskey v. McCarthy & Holthus LLP, 139 S.Ct. 1029 (U.S., 2019). In Obduskey,
a mortgagor had brought an FDCPA claim against the defendant law firm, which

had commenced non-judicial foreclosure proceedings under Colorado law against

 

>In Laks, the Appellate Division held that there is a “statutory mandate that a plaintiff in a residential foreclosure
action plead compliance with the notice of intentional precondition in its complaint.” /d. at 1229.

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the mortgagor. The law firm had mailed a letter to the mortgagor stating that the
firm had been “instructed to commence foreclosure,” set forth the amount
outstanding on the loan and identified the creditor as Wells Fargo. Jd. at *1035.
The letter also served as a Validation Notice under the Fair Debt Collection
Practices Act (“FDCPA”). Jd. The mortgagor responded to the FDCPA
Validation Notice by disputing the debt and requesting verification of that debt. Jd.
The law firm failed to respond to this letter, failed to cease collecting on the debt
and did not provide verification of the debt. Instead it filed a non-judicial
foreclosure action by filing a notice of election and demand with the county public
trustee. Jd. The mortgagor then filed a lawsuit alleging violations of the FDCPA
by, among other things, failing to adhere to the verification procedure. Id. The
district court dismissed the suit on the ground that “the law firm was not a debt
collector” within the meaning of the FDCPA and thus, the requirements of the
FDCPA were inapplicable. Obduskey v. Wells Fargo, 2016 WL 4091174 (D. Col.
2016) (at *3) (Molloy Decl., Exh. B). The Tenth Circuit Court of Appeals
affirmed the dismissal, stating that “the mere act of enforcing a security interest
through a non-judicial foreclosure proceeding does not fall under” the Act.
Obduskey v. Wells Fargo, 879 F.3d 1216, 1223 (2018).

The mortgagor then petitioned for certiorari and in reviewing its grant of the

petition, the Supreme Court stated as follows:

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In light of different views among the Circuits about
application of the FDCPA to non-judicial foreclosure
proceedings, we granted the petition. Compare Ibid and
Vien-Phuong Thi Ho v. ReconTrust Co., N.A., 858 F.3d
568, 573 (CA 9 2016) (Holding that an entity whose only
role is the enforcement of security interests is not a debt
collector under the Act), with Kaymark v. Bank of
America, N.A., 783 F.3d 168, 179 (CA 3 2015) (Holding
that such an entity is a debt collector for the purpose of
all the Act’s requirements), Glazer v. Chase Home Fin.
LLC, 704 F.3d 453, 461 (CA 6 2013) (same) and Wilson
v. Drapper & Goldberg, P.L.L.C., 443 F.3d 373, 376
(CA 4 2006) (same).

Td. at *4.

Significantly, while the case before the Supreme Court involved a non-
judicial foreclosure, all three of the cases cited by the Court in its decision to grant
certiorari for the proposition that entities enforcing security interests were not debt
collectors for all purposes under the FDCPA involved judicial foreclosure
proceedings, not non-judicial foreclosure proceedings. See Kaymark, supra at 171
(“On behalf of BOA, Udren Law Offices, P.C. (“Udren”) initiated foreclosure
proceedings against Kaymark in [Pennsylvania] state court.”); Glazer, supra at 456
(“In June 2008, RACJ filed a foreclosure action on Chase’s behalf in state court . .
. *); and Wilson, supra at 379 (“Defendants allegedly initiated over 2300
foreclosure actions in Maryland in 2003.”). As discussed below, this is not an
accident. The statutory interpretation analysis adopted by the Supreme Court in
Obduskey necessarily requires the inclusion of entities seeking judicial foreclosures

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as well as non-judicial foreclosures. As found by the Supreme Court, the language
in 15 U.S.C. § 1692a(6) providing a supplemental definition for debt collector for
enforcers of security interests would be rendered “surplusage” if those persons
were included in the general definition as well. Obduskey, supra at 1036-37. The
general language states that a debt collector is: “any person . . . in a business, the
principal purpose of which is the collection of any debts, or who regularly collects
or attempts to collect, directly or indirectly, debts.” The limited-purpose definition
of a debt collector is: “for the purpose of Section 1692f(6) .. . the term [debt
collector] also includes any person . . . in any business the principal purpose of
which is the enforcement of security interests.” 15 U.S.C. § 1692a(6) (emphasis
added). The term “also” in the limited-purpose definition necessarily means that it
is not to be included in the general definition. /d. at 1037. Since the limited
purpose definition is the enforcement of security interests, and there is no
distinction in that definition between those persons enforcing security interests
through judicial and non-judicial means, the definition must apply equally (if not
more strongly®) to enforcers of security interests in judicial proceedings. Further,
as noted by Justice Breyer, the legislative history of the FDCPA reveals that

Congress rejected a version of the bill that would have subjected security interest

 

6 According to the limited purpose definition, enforcers of security interests are subject to liability under the FDCPA
only for certain acts committed in non-judicial foreclosures. See 15 U.S.C. § 1692f(6). Thus, enforcers of security
interests through judicial foreclosures must be fully exempt according to the plain language of the statute.

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enforcers to the full coverage of the Act. Jd. at 1037. Instead, Congress limited
the inclusion of enforcers of security interests within the definition of debt
collectors only to the limited extent set forth in 15 U.S.C. § 1692f(6), which is not
applicable here.

Thus, the Supreme Court’s analysis in Obduskey, which_specifically
abrogated the Third Circuit’s holding in Kaymark (Id. at 1035)’, which had applied
the FDCPA to a firm conducting a judicial foreclosure despite the fact that the firm
raised the same argument concerning the exclusion of entities enforcing security
interests, requires that enforcers of security interests in judicial foreclosure are
completely exempted from the Act and enforcers of security interests in non-
judicial foreclosures are exempt from the Act subject to the limited exceptions of
Section 1692f(6). No other logical interpretation of the Court’s Opinion is possible
that fits within basic precepts of statutory interpretation. Kaymark has been
specifically abrogated and an attorney which as here, only pursues an in rem
remedy in foreclosure, is not a debt collector subject to liability under the FDCPA.
Thus, the Complaint should be dismissed as against HOF because of all its actions

which are complained of relate to in rem foreclosure proceedings only.

 

In Kaymark, the Third Circuit specifically rejected the defendant law firm’s argument that the filing of foreclosure
complaints “cannot be the basis of FDCPA claims,” determining instead that institution of foreclosure proceedings
fell within the statutory reach of the FDCPA. See Kaymark v. Bank of America, N.A., 783 F.3d 168, 178-79 (3d Cir.
2015). It was this holding that was abrogated by the Supreme Court in Obduskey and thus, the instant complaint
against a law firm for serving the notice required to commence a New Jersey foreclosure cannot survive.

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IV. EVEN IF HOF IS DEEMED TO BE A DEBT COLLECTOR UNDER
THE FDCPA, THE COMPLAINT STATES NO CLAIM FOR RELIEF
AGAINST HOF

A. The Complaint States No Valid Claim For Relief Against HOF
Under 15 U.S.C. § 1692g(b)

Riotto only asserts a claim against HOF under 15 U.S.C. § 1692g(b) of the
Fair Debt Collection Practices Act. See Complaint, 9 55. Subsection (b) of
Section 1692g of the FDCPA provides as follows:

[b] Disputed Debts

If the consumer notifies the debt collector in writing
within the thirty-day period described in Subsection (a)
that the debt, or any portion thereof, is disputed, or that
the consumer request the name and address of the
original creditor, the debt collector shall cease collection
of the debt, or any disputed portion thereof, until the debt
collector obtains verification of the debt or a copy of the
judgment, or the name and address of the original
creditor, and a copy of such verification or judgment, or
name and address of the original creditor, is mailed to the
consumer by the debt collector. Collection activities and
communications that do not otherwise violate this
subchapter may continue during the 30-day period
referred to in subsection (a) unless the consumer has
notified the debt collector in writing that the debt, or any
portion of the debt, is disputed or that the consumer
request the name and address of the original creditor.
Any collection activities and communications during
the 30-day period may not overshadow or be
inconsistent with the disclosure of the consumer’s
right to dispute the debt or request the name and
address of the original creditor.

15 U.S.C. § 1692g(b) (emphasis added).

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As the plain language of subsection (b) makes clear, the requirements of that
section only apply to “disputed debts”, i.e., where the consumer has provided
notice to the debt collector of the dispute. Only then does the “overshadowing”
issue become germane. Thus, it is well settled that to state a cause of action under
Section 1692¢(b), pertaining to disputed debts, a plaintiff must set forth facts
showing that (1) he sent a writing to the debt collector disputing the debt and
thereby triggered the verification requirements; (2) the debt collector’s response
did not satisfy the verification requirements; and (3) the debt collector thereafter
engaged in post-dispute conduct that amounted to prohibited debt collection
activity. Scott v. Regulus Integrated Solutions, 2016 WL 6776364 (W.D. Pa.
2016) (citing Peterson v. Portfolio Recovery Associates, LLC, 430 Fed. Appx. 112,
116 fn.3 (3d Cir. 2011)) (Molloy Decl., Exh. C); Tauro v. Asset Acceptance, 2012
WL 2359954 (W.D. Pa. 2012) (at *3) (Molloy Decl, Exh. D). The
“overshadowing” requirement only pertains to communications made subsequent
to the original Validation Notice in the context of a “dispute.” Scott v. Regulus
Integrated Solutions, supra. Here, none of the three requirements for a claim
under Section 1692g(b) is alleged and accordingly, no claim is stated under that
Subsection of the FDCPA as a matter of law. Accordingly, the Complaint must be

dismissed with prejudice as against HOF.

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B. Interpreted As A Claim Under Section 1692e(2) Or (10), Or
1692¢(a), No Claim Is Stated Because There Is Nothing Confusing
Or Misleading About Providing Accurate Information

Because it is inevitable that Riotto will argue that regardless of his failure to
allege the elements of a Section 1692g(b) claim, HOF’s Notice of Intention to
Foreclose would be confusing or misleading to the least sophisticated consumer
and thus violative of Section 1692e(2) or (10),® or constitute a non-compliant
Validation Notice under Section 1692g(a), it is necessary to point out that the
Third Circuit has conclusively held in virtually identical circumstances that the
least sophisticated consumer is capable of understanding two separate time
deadlines pertaining to state law and federal law issues. As noted by the Third
Circuit, the least sophisticated standard safeguards debt collectors from liability for
bizarre or idiosyncratic interpretations of collection notices by preserving at least a
modicum of reasonableness as well as “presuming a basic level of understanding
and willingness to read with care [on the part of the recipient].” Campuzano-
Burgos v. Midland Credit Management, Inc., 550 F.3d 294, 299 (3d Cir. 2008).

Under this standard, the law presumes the ability of a consumer to read
through a notice such as that sent by HOF and understand that two separate time

deadlines are applicable to a state court lawsuit in the first instance and the ability

 

8 Section 1692e(2) prohibits the false representation of the legal status of any debt and Section 1692e(10) prohibits
the use of any false representation or deceptive means to collect or attempt to collect any debt.

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to dispute a debt under the FDCPA on the other. That was the holding of the
Eastern District of Pennsylvania in Oppong v. First Union Mortgage Corp., 566
F.Supp. 2d 395 (E.D. Pa. 2008), aff'd, 326 Fed. Appx. 663 (3d Cir. 2009). In
Oppong, a foreclosure complaint was served by a law firm containing a Validation
Notice.” The Complaint stated that the debtor had 20 days “after the Complaint
and Notice are served to enter an appearance personally or by attorney in filing in
writing with the Court your defenses or objections to the claim set forth against
you.” Id. at 402. The Validation Notice contained in the Complaint also provided
that “Defendants may dispute the validity of the debt . . . in writing within 30 days
of receipt of this pleading.” Jd. The Oppong Court noted this as a potential
ambiguity in that “[w]hile the Section 1692g Notice requires a debtor to respond
within 30 days, the state court rule requires a defendant to answer a complaint with
20 days of its filing.” Jd. The Court rejected the plaintiff's argument that this
discrepancy in dates was confusing or misleading to the least sophisticated and
consumer and thus rendered the Validation Notice defective:

The Sixth Circuit was confronted with the identical issue

in Federal Home Mortgage Corp. v. Lamar, 503 F.3d

504. There, the Complaint sent to the debtor advised him

that he had 20 days to file an answer to the complaint. In
the same complaint, the creditor advised the debtor that

 

” It should be noted that the case arose prior to the 2006 amendment to the FDCPA which excluded a Complaint
from the definition of an “initial communication.” However, the amendment in no way changes the analysis of the
Court concerning whether including accurate, but differing state and federal deadlines in a Validation Notice is
misleading.

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he had 30 days within which to dispute the debt. Jd.
Holding that the complaint did not violate the FDCPA,
the Court wrote “[w]e find that the least sophisticated
consumer, after carefully reading the summons, notice
and complaint in their entirety, would not be led to
believe that she did not have thirty days in which to
dispute the validity of the debt. [Defendant] was not
obligated to include further reconciling language to
comply with the FDCPA. Id. at 511. See also Goldman
[v. Cohen, 445 F.3d 152 (2d Cir. 2006)] at 155 (finding
unpersuasive the argument that it would be confusing to
the debtor if it required to comply with both the 20-and
30-day deadlines”.

The Court agrees with the reasoning in Lamar and
Goldman. In the Foreclosure Complaint, Oppong
was presented with two distinct deadlines within
which to perform two distinct actions; one, when to
file an answer to the complaint and two, when to
dispute the debt. The least sophisticated consumer,
upon reviewing the complaint, would have
comprehended and been able to follow these
independent deadlines.

Id., 566 F.Supp. 2d at 402-03 (emphasis added).

The Third Circuit then affirmed the determination of the District Court. See
Oppong v. First Union Mortgage Corp., 326 Fed. Appx. 663 (3d Cir. 2009). In
affirming the District Court, the Third Circuit held that “the District Court also
properly held that the Validation Notice satisfied the objective “least sophisticated
consumer” standard.” Jd. at 666. It also addressed the 20 verses 30 day distinction
and agreed with the District Court that the “least sophisticated consumer,”
reviewing the Foreclosure Complaint in Oppong’s case would have comprehended

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and been able to follow its independent guidelines. Jd. (“We note that Oppong
apparently comprehended the difference in deadlines for filing an FDCPA
response and for filing an answer to the Foreclosure Complaint because he
answered the Foreclosure Complaint within the 20-day time period.” Jd. at 666
fn.4.

Thus, where, as here, the Validation Notice provides correct information
concerning state and federal court deadlines, although not identical, the objective
least sophisticated consumer standard has been held by the Third Circuit to allow
that least sophisticated consumer can understand the distinction between the
federal and state deadlines. Cases in which deadlines have been held to conflict
invariably involve subjective artificial deadlines set by a debt collector, such as a
threat to sue within ten days unless the debt was resolved within that time, while
including the Validation Notice provision of allowing 30 days to dispute the debt.
See Graziano v. Harrison, 950 F.2d 107, 111 Gd Cir. 1991).

Unlike in Graziano, here there was no subjective time period imposed on
Riotto—the time periods stated in the Notice of Intention to Foreclose accurately
reflected New Jersey’s requirements under the Fair Foreclosure Act and the
FDCPA’s separate requirement. The Third Circuit in Oppong distinguished the
situation in Graziano and held that a notice such as that sent by HOF in this case

did not violate the FDCPA. As noted above, it is one thing to argue that an

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artificial deadline set by a debt collector with no reference to state law is confusing
and might overshadow the 30 day time period within which to dispute the debt.
However, when all that occurred in this case is provision of accurate information
concerning the debt and both state and federal time deadlines, there can be no
confusion over this truthful information. Indeed, HOF was required to provide
both of these deadlines to comply with both Federal and state law. Converting this
notice into an FDCPA violation would constitute the ultimate “Catch 22” for the
law firm in that any deviation from the statutory language might leave it subject to
claims under either federal or state law. It simply cannot be deemed to have
violated the FDCPA by complying with state law. The Third Circuit’s Opinion in
Oppong makes that clear. The claims, even if interpreted as claims under Sections
1692e(2) and (10) or Section 1692g(a), which are not alleged, fail to state claims

for relief. The complaint should therefore be dismissed as to HOF.

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Vv. CONCLUSION

For all the reasons set forth herein, it is respectfully submitted that the Complaint

as against HOF be dismissed with prejudice.

WILENTZ, GOLDMAN & SPITZER P.A.

Dated: July 15,2019 = By:__/s/ Brian J. Molloy

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